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               EXHIBIT 27
   DORWORTH’S FALSE STATEMENTS



   (SUBJECT TO MOTION TO FILE UNDER SEAL
      TO BE FILED CONTEMPORANEOUSLY)
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                       DORWORTH’S FALSE STATEMENTS

                                  False Sworn Statements

  Dorworth’s Verified Complaint—Doc. 1-1

     • “As Dorworth had never met A.B., he did not know her age, appearance, or any
       other characteristics about her.” Doc. 1-1 ¶ 419.

     • “Dorworth never ‘partied’ with A.B. at his house or anywhere else.” Id. ¶ 423.

     • “Dorworth has never, to the best of his recollection, met, interacted, communicated,
       or interacted in any way with A.B.” Id. ¶ 439.

     • Allegations discussing how Dorworth came to know of A.B. and that he “does not
       know if A.B. ever joined” his friend (Joe Ellicott) or K.M. at any social gathering
       after Dorworth agreed to his friend’s request for permission to invite A.B. Id. ¶¶
       440–44.

     • “Upon review of photographs of the person Dorworth now knows to be A.B., he
       does not believe he has ever met A.B.” Id. ¶ 445.

     • “Dorworth did not have any contact, to say nothing of sexual contact, with A.B. . . .”
       Id. ¶ 480.

     • “As Dorworth had never met A.B. . . . .” Id. ¶ 519.

  Dorworth’s Deposition—Doc. 183-5

     •                                                                                    Doc.
         183-5 at 37:24–38:1.

     •                                                        Id. at 44:19–20.

     • Again referencing A.B.,                                                   Id. at 45:3.

     • Referencing A.B.,                                     Id. at 48:6–7.

     • Referencing A.B.,                          Id. at 61:18–19.

     •                            Id at 86:2.
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     • Referencing A.B.,                                 Id. at 104:22.

     • Referencing A.B.,
                Id. at 105:2–3.

     •                       Id. at 215:12–13.

     • Referencing A.B.,                                 Id. at 216:10.

     • Referencing A.B.,                              Id. at 221:6–7.

     • Referencing A.B.,                              Id. at 225:1.

     •                                                  Id. at 226:11.

     •                       Id. at 232:13.

     •                             Id. at 285:13.

     • Referencing A.B.,                              Id. at 294:18–19.

     • Referencing A.B.,                         Id. at 297:12–13.

     • Referencing the July 15, 2017 party,                           Id. at 156:17–23.

     • Dorworth testifying that
                        Id. at 245:12–22.

     • Dorworth testifying that
                                                                                Id. at 247:13–
         24.

     • Dorworth testifying that

         Id. at 248:12–24.

     • Dorworth testifying that
                                    Id. at 255:14–21.
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      • Referencing the July 15, 2017 party,                                              Id. at 281:17–
        25.

      • Dorworth testifying that
            . Id. at 285:2–5.

      • Dorworth testifying that                                                         Id. at 309:21–
        310:6.

      • Dorworth testifying that
                                                Id. at 353:16–18. But A.B., K.M., and B.G. all
          swore             Ex. 4 at 101:13–102:8; Ex. 2 ¶ 16; Ex. 3 at 32:19–33:17.1

      • Rebutting A.B.’s recollection of events, Dorworth testifies that
                                                                             Doc. 183-5 at
          347:12–13. But Rebekah Dorworth testified “[y]ou can see the pool out of a couple
          of bedrooms” in the Dorworth home. Doc. 181-1 at 398:17–20.

      • Dorworth testifying that it
                            Doc. 183-5 at 356:10. But L.P. said she attended multiple
        gatherings at the Dorworth Residence in the summer of 2017, one of which included
        a sexual encounter with Dorworth. Doc. 183-2 ¶¶ 24–27.

  Dorworth’s Deposition—Doc. 183-6:

      • Referencing A.B., Dorworth testifying that
                      Doc. 183-6 at 50:24–25.

      • Referencing A.B., Dorworth testifying
                 Id. at 72:21.

      • Dorworth testifying that                                                 . Id. at 121:19–22.

      • Dorworth testifying that                                                                    Id. at
        122:11–24.

      •                                                                     Id. at 209:18–24.



  1
   All exhibit references are to exhibits to Defendants’ motion for entitlement to attorney’s fees, costs,
  and sanctions.
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     •                                                           Id. at 217:13–17.

     •                    Id. at 218:10–17.

         The above statements are false because Dorworth’s unrebutted phone records show
  that he was at his house during the July 15, 2017 party at the same time as A.B. Further,
  A.B., K.M., and B.G. all said under oath that
         Ex. 4 at 101:13–102:8; Ex. 2 ¶ 16; Ex. 3 at 32:19–33:17.

                         UNSWORN OR MISLEADING STATEMENTS

  Rebekah Dorworth’s Deposition—Doc. 181-1:

     • Dorworth did nothing to intervene when Rebekah Dorworth testified under oath that
       Dorworth was not present for the July 15, 2017 party. Doc. 181-1 at 234:15–17,
       457:9–10; see also id. at 241:4–9.

  Dorworth’s RFA Response: Ex. 17

     • In an RFA response, Dorworth said that he “does not recall meeting A.B. at any
       time, and certainly not on the date in question”—July 15, 2017.

  Interrogatory Response: Ex. 25

     • In an unverified interrogatory response served on August 26, 2024, Dorworth
       readopted the false statements he made during his deposition.
